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                                         U.S. Department of Justice
[Type text]
                                                        United States Attorney
                                                        Southern District of New York
                                                        The Silvio J. Mollo Building
                                                        One Saint Andrew’s Plaza
                                                        New York, New York 10007

                                                        January 8, 2021
BY ECF
Honorable P. Kevin Castel               Time for pretrial submissions deferred pending further order.
United States District Judge
Southern District of New York           SO ORDERED.
500 Pearl Street                        Dated: 1/11/2021
New York, NY 10007

       Re:     United States v. Terry Former et al., No. 19 Cr. 781 (PKC)

Dear Judge Castel:

        The Government and defendants Terry Former and Jazmyne Alyce Johns jointly and
respectfully submit this letter to request an adjournment of the deadline for filing pretrial materials,
including motions in limine, voir dire, and requests to charge, currently scheduled for February 1,
2021. This is the first such request by the parties. As the Court is aware, no trial date has yet been
set in the above-captioned matter, although trial is tentatively scheduled to be set in the second
quarter of 2021 contingent upon confirmation by the District Court Trial Scheduling Committee.
Defendant Former has a filed a motion to suppress certain evidence recovered from one of his
cellphones, which has been fully briefed and is pending before the Court. In addition, the
Government is currently engaged in serious discussions with defendant Johns regarding a potential
pre-trial disposition.

        Accordingly, the parties jointly request that the Court adjourn the current deadlines for the
filing of pretrial materials, and respectfully propose setting a schedule for the filing of such
materials once the Court has ruled on Former’s motion to suppress or a trial date has been
confirmed. This approach would allow the Court to set a schedule for motions in limine, taking
into account 3500 and trial exhibit deadlines, such that the parties would be able to identify and
resolve more issues prior to trial. In particular, the Government anticipates that resolution of
Former’s motion to suppress and any pre-trial dispositions would narrow or eliminate some of the
issues that would otherwise need to be raised to the Court in motions in limine.


                                                 Respectfully submitted,

                                                 AUDREY STRAUSS
                                                 Acting United States Attorney for the
                                                 Southern District of New York

                                           By:
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                                                 Assistant United States Attorneys
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